
257 So.2d 135 (1971)
260 La. 644
STATE of Louisiana
v.
John DUPLESSIS.
No. 49282.
Supreme Court of Louisiana.
November 23, 1971.
James P. Screen, George M. Leppert, New Orleans, for defendant-appellant.
Jack P. F. Gremillion, Atty. Gen., Harry H. Howard, Asst. Atty. Gen., Jim Garrison, Dist. Atty., Louise Korns, Asst. Dist. Atty., for plaintiff-appellee.
On remand from the Supreme Court of the United States.
DIXON, Justice.
Defendant was convicted for the May 15, 1967 murder of Oscar Meeks, manager of the Tenneco Service Station at 1413 North Claiborne Avenue in New Orleans, during an attempted robbery of the station. He was sentenced to death.
On appeal defendant complained that the petit jury was selected in violation of Witherspoon v. Illinois, 391 U.S. 510, 88 S.Ct. 1770, 20 L.Ed.2d 776 (1968). This court held that the requirements of Witherspoon had been satisfied and accordingly affirmed the conviction and sentence. See State v. Hudson, 253 La. 992, 221 So.2d 484 (1969).
A writ of certiorari was sought from the United States Supreme Court. On June 28, 1971, 402 U.S. 946, 91 S.Ct. 2282, 29 L.Ed. 2d 856, the writ was granted and the judgment insofar as it imposed the death sentence was reversed and the case remanded to this court.[1]
The United States Supreme Court has reversed us only with respect to our affirmance of the imposition of the death sentence. We remand this case to the Criminal District Court for the Parish of Orleans in order that the defendant may be resentenced *136 to life imprisonment. See State v. Shaffer et al., 260 La. 605, 257 So.2d 121, overruling in part State v. Turner, 253 La. 763, 220 So.2d 67, State v. Benjamin, 254 La. 49, 222 So.2d 853, Article 916, Code of Criminal Procedure.
It is so ordered.
SANDERS, J., concurs in part and dissents in part for the reasons assigned in State v. Shaffer, 260 La. 605, 257 So.2d 121.
SUMMERS, J., dissents for the reasons assigned by SANDERS, J., in his dissent in State v. Shaffer, 260 La. 605, 257 So.2d 121.
NOTES
[1]  The order of the United States Supreme Court reads as follows:

"GREETINGS:
"WHEREAS, lately in the Supreme Court of the State of Louisiana, there came before you a cause between the State of Louisiana and Larry Hudson and John Duplessis, No. 49282, wherein the judgment of the said Supreme Court was duly entered on the thirty-first day of March A.D. 1969, as appears by an inspection of the petition for a writ of certiorari to the said Supreme Court and response thereto.
"AND WHEREAS, in the October Term, 1970, the said cause as to Duplessis having been submitted to the SUPREME COURT OF THE UNITED STATES on the said petition for writ of certiorari and response thereto, and the Court having granted the said petition:
"ON CONSIDERATION WHEREOF, it was ordered and adjudged on June 28, 1971, by this said Court that the judgment of the said Supreme Court as to Duplessis, insofar as it imposes the death sentence, be reversed, and that this cause be remanded to the Supreme Court of the State of Louisiana for further proceedings. Witherspoon v. Illinois, 391 U.S. 510 [88 S.Ct. 1770, 20 L.Ed.2d 776] (1968); Boulden v. Holman, 394 U.S. 478 [89 S.Ct. 1138, 22 L.Ed.2d 433] (1969); and Maxwell v. Bishop, 398 U.S. 262 [90 S.Ct. 1578, 26 L.Ed.2d 221] (1970).
"NOW, THEREFORE, THE CAUSE IS REMANDED to you in order that such proceedings may be had in the said cause, in conformity with the judgment of this Court above stated, as accord with right and justice, and the Constitution and laws of the United States, the said writ notwithstanding.

